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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 John Chime and Bethany Chime,                 )   CASE NO. 1:19-CV-02513
                                               )
                        Plaintiffs,            )   JUDGE PAMELA A. BARKER
                                               )
 v.                                            )   DEFENDANT FAMILY LIFE
                                               )   COUNSELING AND PSYCHIATRIC
 Family Life Counseling and                    )   SERVICES ANSWER TO
 Psychiatric Services,                         )   PLAINTIFFS’ AMENDED
                                               )   COMPLAINT, AND
                        Defendant.             )   COUNTERCLAIM
                                               )
                                               )   (Jury Demand Endorsed Hereon)

       Now come the Defendant, by and through counsel, and for its Answer to the Amended

Complaint of the Plaintiff state as follows:

       1.      Admit.

       2.      The allegation in Paragraph #2 is denied as stated.

       3.      Admit that Defendant accepts payments from various payors and purchases

supplies from various suppliers, but denies remaining allegations for lack of knowledge.

       4.      Paragraph #4 consists only of legal conclusions such that no response is necessary.

To the extent a response is necessary, deny.

       5.      Paragraph #5 consists only of legal conclusions such that no response is necessary.

To the extent a response is necessary, deny.

       6.      Paragraph #6 consists only of legal conclusions such that no response is necessary.

To the extent a response is necessary, deny.

       7.      Admit that Defendant has offices in Richland County, Ohio. Paragraph #7 consists

of legal conclusions such that no additional response is necessary. To the extent an additional

response is necessary, deny.
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        8.      Deny for lack of knowledge.

        9.      Deny for lack of knowledge.

        10.     Deny.

        11.     Deny.

        12.     Admit that Plaintiffs were employees of Defendant but deny remaining allegations

in Paragraph #12.

        13.     Deny.

        14.     Deny.

        15.     The referenced document speaks for itself such that no response is necessary. To

the extent a response is necessary, deny to the extent inconsistent with said document.

        16.     The referenced document speaks for itself such that no response is necessary. To

the extent a response is necessary, deny to the extent inconsistent with said document. Specifically,

deny that Mr. Schaffer insisted that Mr. Chime work unpaid overtime hours.

        17.     Admit that Plaintiffs created a conflict of interest that violated Defendant’s code of

conduct, and that Dr. Burggraf sent letters to Plaintiffs regarding same.           Deny remaining

allegations in Paragraph #17.

        18.     The referenced document speaks for itself such that no response is necessary. To

the extent a response is necessary, deny to the extent inconsistent with said document.

        19.     The referenced document speaks for itself such that no response is necessary. To

the extent a response is necessary, deny to the extent inconsistent with said document. Specifically

deny that Plaintiffs had not created a conflict of interest.

        20.     Deny.

        21.     Deny for lack of knowledge.



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       22.     Deny.

                                         COUNT I
                                     UNPAID OVERTIME

       23.     Defendant restates each and every response set forth in Paragraphs 1 to 22 above.

       24.     Paragraph #24 consists only of legal conclusions such that no response is necessary.

To the extent a response is necessary, deny to the extent inconsistent with referenced statutes.

       25.     Deny.

       26.     Deny.

       27.     Deny.

       28.     Deny.

       29.     Deny.

                                          COUNT II
                                        RETALIATION

       30.     Defendant restates each and every response set forth in Paragraphs 1 to 29 above.

       31.     Deny.

       32.     Deny.

       33.     Deny.

       34.     Deny.

       35.     Deny.

       36.     Deny.

       37.     Deny.

       38.     Deny.

       39.     Deny.

       40.     Deny.



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                                    COUNT III
                                ABUSE OF PROCESS

 41.      Defendant restates each and every response set forth in Paragraphs 1 to 40 above.

 42.      Admit.

 43.      Deny.

 44.      Deny.

 45.      Deny.

 46.      Deny.

 47.      Deny.

                      COUNT IV
FRIVOLOUS CONDUCT UNDER OHIO REVISED CODE SECTION 2323.51

 48.      Defendant restates each and every response set forth in Paragraphs 1 to 47 above.

 49.      Deny.

 50.      Deny.

 51.      Deny.

 52.      Deny.

 53.      Deny.


                          COUNT V
       WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY

       54. Defendant restates each and every response set forth in Paragraphs 1 to 53 above

       55. Deny.

       56. Deny.

       57. Deny.

       58. Deny.



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             59. Deny.

             60. Deny.

             61. Deny.

                                 COUNT VI
               NEGLIGENT TRAINING, RETENTION, AND SUPERVISION

             62. Defendant restates each and every allegation set forth in Paragraphs 1 to 61 above.

             63. Deny as stated.

             64. Deny.

             65. Deny.

             66. Deny.

                                    COUNT VII
                      FAILURE TO PRODUCE REQUESTED RECORDS

                67.      Defendant restates each and every allegation set forth in Paragraphs 1 to 66

                         above.

                68.      Deny for lack of knowledge.

                69.      Deny as stated.

                70.      Deny.

                71.      Paragraph #71 consists only of legal conclusions such that no response is

necessary. To the extent a response is necessary, deny to the extent inconsistent with referenced

statutes.

                72.      Deny.


                                       AFFIRMATIVE DEFENSES

        1.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ Amended

Complaint fails to state a claim upon which relief can be granted.

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       2.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are barred,

in whole or in part, by the applicable statute of limitations.

       3.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are barred

by lack of personal and subject matter jurisdiction.

       4.      Defendant affirmatively alleges, in the alternative, that venue is improper.

       5.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are barred

by the equitable doctrines of laches, waiver, unclean hands, res judicata and/or estoppel,

recoupment and set-off.

       6.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are

redundant.

       7.      Defendant affirmatively alleges, in the alternative, that to the extent that the

Plaintiffs have suffered any compensable damages (which is specifically denied), the Plaintiffs

have failed to mitigate their damages.

       8.      Defendant affirmatively alleges, in the alternative, that any damages sustained by

Plaintiffs as alleged in the Amended Complaint are the result of the direct, proximate, intervening

and/or superseding acts and/or omissions of parties other than Defendant.

       9.      Defendant affirmatively alleges, in the alternative, that at all times material hereto,

Defendant acted in good faith.

       10.     Defendant affirmatively alleges, in the alternative, that at all times material hereto,

Defendant was privileged to act.

       11.     Defendant affirmatively alleges that at all times material hereto, Defendant acted

in accordance with applicable laws.




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       12.     Defendant affirmatively alleges, in the alternative, that at all times material hereto,

Defendants actions are based on legitimate, non-discriminatory and non-retaliatory reasons.

       13.     Defendant affirmatively alleges, in the alternative, that punitive damages are not

recoverable against Defendant.

       14.     Defendant affirmatively alleges, in the alternative, that the Plaintiffs’ employment

did not end as a result of any discriminatory or retaliatory actions or for any discriminatory or

retaliatory purposes.

       15.     Defendant affirmatively alleges, in the alternative, that at all times relevant to this

lawsuit, Plaintiffs were treated in a manner consistent with other similarly situated employees.

       16.     Defendant affirmatively alleges, in the alternative, that Plaintiffs did not engage in

any protected activity.

       17.     Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are barred

and/or Plaintiffs’ remedies are limited because any actions taken by Defendant relative to Plaintiffs

would have been taken regardless of whether Plaintiffs engaged in protected activity.

       18.     Defendant affirmatively alleges, in the alternative, that Plaintiffs’ Amended

Complaint is frivolous.

       19.     Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims are barred

and/or limited by contractual agreement.

       20.     Defendant affirmatively alleges, in the alternative, that damage caps apply.

       21.     Defendant affirmatively alleges, in the alternative, that Plaintiffs were at will

employees and their public policy claim is not recognized or viable in Ohio, as no public policy

exists or is jeopardized with respect to their claims.




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        22.      Defendant affirmatively alleges, in the alternative, that Plaintiffs’ claims may be

barred by the doctrine of after-acquired evidence.

        23.      Defendant affirmatively alleges, in the alternative, that its actions are was entitled

to absolute and/or qualified privilege, included absolute judicial privilege.

        24.      Defendant expressly preserves and does not knowingly or intentionally waive any

of the affirmative defenses set forth in Rule 8 and Rule 12 of the Federal Rules of Civil Procedure

or under applicable law, which discovery may reveal to be applicable, or any other matter

constituting an avoidance or affirmative defense

        25.      Defendant respectfully reserves the right to amend its Answer to add such

additional Affirmative Defenses, Counterclaims and/or Third-Party Complaints as may be

disclosed during the course of the captioned matter.

        WHEREFORE, Defendant respectfully demands that Plaintiffs’ Amended Complaint be

dismissed, with prejudice, at Plaintiffs’ costs and for such other relief which is equitable and just.

                                            COUNTERCLAIM1

        Now comes Defendant Family Life Counseling and Psychiatric Services, by and through

counsel, and for its Counterclaim against Plaintiffs states as follows:

        1.       Plaintiffs were employed by Defendant in positions of management, trust and

authority. Plaintiff John Chime was the Regional Director and Plaintiff Bethany Chime was

Defendant’s Clinical Director in Defendant’s Northern Region Offices located in Norwalk, Ohio.

        2.       As employees and trusted and managerial employees of Defendant, Plaintiffs owed

a common law duty of loyalty to Defendant to carry out their duties with Defendant in good faith




1
 Family Life Counseling and Psychiatric Services reasserts its Counterclaim herein; this Counterclaim was also
asserted in conjunction with its Answer to the original Complaint.

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and to not act to the detriment of Defendant or not engage in any disloyal acts against Defendant

during their employment with Defendant.

        3.      In addition, due their positions of management, trust and authority, Plaintiffs each

owed Defendant a fiduciary duty in this regard as well.

        4.      In that regard, Plaintiffs, during their employment with Defendant, set up, created,

planned and engaged in actions in direct competition with and directly and indirectly contrary to

the business interests of Defendant in the very same community where they were, at that same

time, supposed to be working for and on Defendant’s behalf. Further and meanwhile, Plaintiffs

took actions to attempt to conceal the true nature of their actions until they had left their

employment with Defendant.

             FIRST CAUSE OF ACTION – BREACH OF DUTY OF LOYALTY

        5.      Defendant restates and incorporates herein by reference paragraphs 1 thought 4 of

the Counterclaim as if fully restated herein.

        6.      Plaintiffs’ actions in this regard constituted a breach of the common law duty of

loyalty to Defendant as employees and managers of Defendant.

        7.      Plaintiffs’ actions in this regard were willful, wanton and/or intentional.

        8.      As a direct and proximate result of Plaintiffs’ breaches of their duties in this regard,

Defendant has sustained compensatory damages including but not limited to payment of

compensation to Plaintiffs while they were acting contrary to Defendant’s interests, reputational

damages, significant disruption of the staff and operations of Defendant’s Northern Region Offices

and operations, negative impact of the office and staff morale and other damages which will be

proven at the trial of this cause.

             SECOND CAUSE OF ACTION – BREACH OF FIDUCIARY DUTY



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        9.      Defendant restates and incorporates herein by reference paragraphs 1 thought 8 of

the Counterclaim as if fully restated herein.

        10.     Plaintiffs’ actions in this regard constituted a breach their fiduciary duties to

Defendant.

        11.     Plaintiffs’ actions in this regard were willful, wanton and/or intentional.

        12.     As a direct and proximate result of Plaintiffs’ breaches of their duties in this regard,

Defendant has sustained compensatory damages including but not limited to payment of

compensation to Plaintiffs while they were acting contrary to Defendant’s interests, reputational

damages, significant disruption of the staff and operations of Defendant’s Northern Region Offices

and operations, negative impact of the office and staff morale and other damages which will be

proven at the trial of this cause.

              THIRD CAUSE OF ACTION – BREACH OF EMPLOYMENT CONTRACT

        13.     Defendant restates and incorporates herein by reference paragraphs 1 thought 12 of

the Counterclaim as if fully restated herein.

        14.     Defendant had oral, at-will contracts of employment with Plaintiffs.

        15.     Plaintiffs’ actions in this regard constituted a breach of their contractual obligations

to Defendant as employees and managers of Defendant.

        16.     As a direct and proximate result of Plaintiffs’ breaches in this regard, Defendant

has sustained compensatory damages including payment of compensation to Plaintiffs while they

were acting contrary to Defendant’s interests, reputational damages, significant disruption of the

staff and operations of Defendant’s Northern Region Offices and operations, negative impact of

the office and staff morale and other damages which will be proven at the trial of this cause.




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       WHEREFORE, Defendant respectfully demands damages against Plaintiffs, jointly and

severally, for compensatory damages, forfeiture of compensation, punitive damages, attorneys’

fees and the costs of this action and other such relief as is equitable and just.

                                               Respectfully submitted,


                                               s/ Jonathan H. Krol
                                               Jonathan H. Krol (0088102)
                                               REMINGER CO., L.P.A.
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                                               Cleveland, Ohio 44115-1093
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                                               Attorney for Defendant

                                               and


                                               /s/ J. Jeffrey Heck
                                               J. Jeffrey Heck (0039986)
                                               THE HECK LAW OFFICES, LTD.
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                                               Mansfield, Ohio 44903
                                               (419) 524-2700(O) | (419) 524-2710 (F)
                                               E: jheck@hecklawoffices.com

                                               Attorney for Defendant and Counterclaim Plaintiff


                                         JURY DEMAND

       Defendant demands a trial by jury on all issues so triable and by the maximum number

jurors allowed by law.

                                               s/ Jonathan H. Krol
                                               Jonathan H. Krol (0088102)
                                               REMINGER CO., L.P.A.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.

                                               s/ Jonathan H. Krol
                                               Jonathan H. Krol (0088102)
                                               REMINGER CO., L.P.A.




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